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  The relief described hereinbelow is SO ORDERED.



  Signed May 27, 2022.

                                                           __________________________________
                                                                  H. CHRISTOPHER MOTT
                                                           UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                              UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

          IN RE:                                       §
                                                       §                CASE NO 21-30107
          PDG PRESTIGE INC.,                           §
                                                       §
                                                       §
                   Debtor.                             §

         ORDER GRANTING THIRD AND FINAL FEE APPLICATION OF
         WEYCER, KAPLAN, PULASKI & ZUBER, P.C. AS COUNSEL TO
         DEBTOR AND DEBTOR IN POSSESSION (RE: DOCKET NO. 154)

          On this day came on for consideration the Third and Final Fee Application of Weycer,
  Kaplan, Pulaski & Zuber, P.C. as Counsel to Debtor and Debtor in Possession (Docket No. 154)
  (the “WKPZ Fee Application”) filed herein on May 2, 2022 by Weycer, Kaplan, Pulaski & Zuber,
  P.C. (“WKPZ”), attorneys for the Debtor and Debtor in Possession. The Court finds and concludes
  that the WKPZ Fee Application contains the necessary notices under the Local Bankruptcy Rules,
  and no further notice is necessary, and that cause exists to grant the relief requested in the WKPZ
  Fee Application to the extent set forth below.

         IT IS THEREFORE ORDERED THAT:

         1.      The WKPZ Fee Application is granted as set forth herein.

       2.    All capitalized terms shall have the same meaning as ascribed to such terms in the
  WKPZ Fee Application, unless otherwise defined herein.



  ORDER GRANTING THIRD AND FINAL FEE APPLICATION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
  AS COUNSEL TO DEBTOR AND DEBTOR IN POSSESSION (RE: DOCKET NO. 154) — Page 1  2123111.DOCX]
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         3.     The amounts previously awarded by the Order (Docket No. 56) of the prior First
  Interim Fee Application of WKPZ (Docket No. 51) are approved on a final basis, provided,
  however, the amounts awarded below are cumulative for the entire representation and include the
  amounts of the fees and expenses previously awarded on an interim basis.

         4.     The amounts previously awarded by the Order (Docket No. 99) of the prior First
  Interim Fee Application of WKPZ (Docket No. 91) are approved on a final basis, provided,
  however, the amounts awarded below are cumulative for the entire representation and include the
  amounts of the fees and expenses previously awarded on an interim basis.

         5.     WKPZ is awarded on an FINAL basis fees in the total amount of $90,469.00 and
  expenses in the total amount of $2,254.97 for the representation of PDGP by WKPZ during the
  Application Period,.

                                    ### END OF ORDER ###




  ORDER GRANTING THIRD AND FINAL FEE APPLICATION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
  AS COUNSEL TO DEBTOR AND DEBTOR IN POSSESSION (RE: DOCKET NO. 154) — Page 2  2123111.DOCX]
